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 6

 7                           UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA
 9

10    UNITED STATES OF AMERICA,                    )   2:12-CR-00084-JCM-GWF
                                                   )
11                   Plaintiff,                    )
                                                   )   STIPULATION FOR PROTECTIVE ORDER
12                   vs.                           )
                                                   )
13    THOMAS LAMB et al.,                          )
                                                   )
14                                                 )
                     Defendants.                   )
15                                                 )

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17           IT IS HEREBY STIPULATED AND AGREED between the parties, DANIEL G.

18   BOGDEN, United States Attorney for the District of Nevada, and Kimberly M. Frayn and Andrew

19   W. Duncan, Assistant United States Attorneys, counsel for the United States, and Karen C.

20   Winckler, Esq., Counsel for Thomas Lamb; Jess R. Marchese, Esq., Counsel for Jonathan

21   Vergnetti; Terrence M. Jackson, Esq., Counsel for Roger Grodesky; and Mark B. Bailus, Esq.,

22   Counsel for John Holsheimer, that this Court issue an Order protecting from disclosure to the

23   public any discovery materials or documents containing the personal identifying information and

24   financial identifying information such as, names, social security numbers, drivers license numbers,

25   dates of birth, addresses, mothers’ maiden names, passwords, debit card and credit card account

26   numbers, financial lines of credit account numbers, bank account numbers, and Personal
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 1   Identification Numbers (PINs), of participants, witnesses and victims in this case. Such materials

 2   and documents shall be referred to hereinafter as “Protected Materials.” The parties state as

 3   follows:

 4              1.   Protected Materials which may be used by the government in its case in chief

 5   include personal and financial identifiers, including names, social security numbers, drivers

 6   license numbers, dates of birth, addresses, mothers’ maiden names, passwords, debit card and

 7   credit card account numbers, financial lines of credit account numbers, bank account numbers, and

 8   Personal Identification Numbers (PINs), of participants, witnesses, and victims in this case.

 9              2.   Discovery in this case is voluminous and many of these materials and documents

10   include personal and financial identifiers. Redacting the personal and financial identifiers of

11   participants, witnesses, and victims would prevent the timely disclosure of discovery to the

12   defendants.

13              3.   The United States agrees to provide Protected Materials without redacting the

14   personal and financial identifiers of participants, witnesses, and victims

15              4.   Access to Protected Materials will be restricted to persona authorized by the Court,

16   namely defendants, attorneys of record and attorneys, paralegals, investigators, experts, and

17   secretaries employed by the attorneys of record and performing on behalf of defendants.

18              5.   The following restrictions will be placed on the defendants, defendants’ attorneys

19   and the above-designated individuals unless and until further ordered by the Court. Defendants,

20   defendants’ attorneys and the above-designated individuals shall not:

21                   a.     make copies for, or allow copies of any kind to be made by any other person

22   of Protected Materials;

23                   b.     allow any other person to read Protected Materials; and

24                   c.     use Protected Materials for any other purpose other than preparing to defend

25   against the charges in the Indictment or any further superseding indictment arising out of this case.

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 1             6.    Defendant’s attorney shall inform any person to whom disclosure may be made

 2   pursuant to this order of the existence and terms of this Court’s order.

 3             7.    The requested restrictions shall not restrict the use or introduction as evidence of

 4   discovery materials and documents containing personal identifying information such as social

 5   security numbers, drivers license numbers, dates of birth, and addresses during the trial of this

 6   matter.

 7             8.    Upon conclusion of this action, defendant’s attorney shall return to government

 8   counsel or destroy and certify to government counsel the destruction of all discovery materials and

 9   documents containing personal identifying information and financial identifying information such

10   as, names, social security numbers, drivers license numbers, dates of birth, addresses, mothers’

11   maiden names, passwords, debit card and credit card account numbers, financial lines of credit

12   account numbers, bank account numbers, and Personal Identification Numbers (PINs) social

13   security numbers, drivers license numbers, dates of birth, and addresses within a reasonable time,

14   not to exceed thirty days after the last appeal is final.

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18   DANIEL G. BOGDEN
     United States Attorney
19

20   /s/ Kimberly M. Frayn                                    04/19/12
     KIMBERLY M. FRAYN                                        DATE
21   ANDREW W. DUNCAN
     Assistant United States Attorneys
22

23   /s/ Karen C. Winckler, Esq.                              04/19/12
     Karen C. Winckler, Esq.,                                 DATE
24   Counsel for Thomas Lamb

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 1
     /s/ Jess R. Marchese, Esq.                     04/19/12
 2   Jess R. Marchese, Esq.,                        DATE
     Counsel for Jonathan Vergnetti
 3

 4   /s/ Terrence M. Jackson, Esq.                  04/19/12
     Terrence M. Jackson, Esq.,                     DATE
 5   Counsel for Roger Grodesky

 6
     /s/ Mark B. Bailus, Esq.                       04/19/12
 7   Mark B. Bailus, Esq.,                          DATE
     Counsel for John Holsheimer
 8

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11
                                           ORDER
12
                                   24th day of April 2012.
             IT IS SO ORDERED this _____
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                                           ____________________________________
15                                         UNITED STATES MAGISTRATE JUDGE

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